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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

Plaintiff,

Jerome Thor Campbell

 

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)
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v. ) M-21-524-STE
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Defendant.
ORDER

In accordance with the Due Process Protections Act,' counsel are reminded of the disclosure
obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny. In
particular, “the suppression by the prosecution of evidence favorable to an accused upon request
violates due process where the evidence is material either to guilt or to punishment, irrespective of the
good faith or bad faith of the prosecution.”* “[E]vidence is ‘material’ within the meaning of Brady
when there is a reasonable probability that, had the evidence been disclosed, the result of the proceeding
would have been different.” A “reasonable probability” does not mean that the defendant “would more
likely than not have received a different verdict with the evidence,” only that the likelihood of a
different result is great enough to “undermine[ ] confidence in the outcome of the trial.”

Possible consequences for a violation of this Order may include, but are not limited to,
exclusion of evidence at trial, a finding of contempt, granting of a continuance, and dismissal of the
charges with prejudice.

ENTERED on _ September 22nd, 2021

 

 

UNITED STATES MAGISTRATE JUD,

 

' The Due Process Protections Act, PL 116-182, [S 1380], effective October 21, 2020, requires that the parties
be informed regarding an amendment to Federal Rule of Criminal Procedure 5. By this legislation, subsection
(f) of the Rule has been redesignated as subsection (g), with new subsection (f) hereinafter designated as
“REMINDER OF PROSECUTORIAL OBLIGATION.” The amendment serves to remind prosecutors of their
obligations to disclose exculpatory evidence pursuant to Brady v. Maryland, 373 U.S. 83 (1963).

2 Brady, 373 US. at 87.

3 Cone v, Bell, 556 U.S. 449, 469-470 (2009).
4 Smith v. Cain, 565 U.S. 73, 75 (2012).
